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CERTIFICATE OF SERVICE

I, Ryan D. Malone, do hereby state under the penalty of
perjury under 28 U.S.C. 81746, that I have this same day served
the United States District Court for the Northern District of
Ohio by mailing such in the U.S. Mail Service with lst class
prepaid postage affixed and addressed as follows;

United States District Court

Northern District of Ohio

125 Market Street, Room 337

Youngtown, Ohio 44503

Respectfully Submitted,

eyo BD. Mater
Ryan D. Malone

 
